60 F.3d 826NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    UNITED STATES of America, Plaintiff-Appellee,v.Michael Joseph VOGEL, Defendant-Appellant.
    No. 94-7014.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 28, 1995.Decided July 10, 1995.
    
      Michael Joseph Vogel, Appellant Pro Se.
      D.Md.
      AFFIRMED.
      Before HALL, WILKINSON, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Vogel, Nos.  CR-89-210-HM;  CA-94-177-HM (D. Md. Aug. 17, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    